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                       IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA


Bryan McHowell,                     )
                                    )
               Plaintiff,           )                Civil Action No. 6:19-2060-RMG
                                    )
               vs.                  )
                                    )
Andrew Saul, Commissioner           )
of Social Security,                 )                       ORDER
                                    )
               Defendant.           )
                                    )
____________________________________)

       This matter comes before the Court for judicial review of the final decision of the

Commissioner of Social Security denying Plaintiff’s application for Disability Insurance

Benefits (“DIB”). In accordance with 28 U.S.C. § 636(b) and Local Rule 73.02, D.S.C., this

matter was referred to the United States Magistrate Judge for pretrial handling. The Magistrate

Judge issued a Report and Recommendation (“R & R”) on September 28, 2020, recommending

that the decision of the Commissioner be reversed and remanded to the agency because the

Administrative Law Judge (“ALJ”) failed to properly consider the opinions of two treating

physicians, Dr. Lehman and Dr. Schwartz. (Dkt. No. 17 at 15-20). The Commissioner has

advised the Court that he does not intend to file objections to the R & R. (Dkt. No. 19).

       The Court has reviewed the R & R and the record evidence and finds that the Magistrate

Judge has ably addressed the factual and legal issues in this matter. Therefore, the Court

ADOPTS the Report and Recommendation as the order of this Court, REVERSES the decision

of the Commissioner pursuant to Sentence Four of 42 U.S.C. § 405(g), and REMANDS the

matter to the Commissioner for further proceedings consistent with this order. Since this

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application for disability benefits has been pending for over five years, the Court directs that an

administrative hearing, if required, be conducted in this matter within 120 days of this Order and

a decision by the ALJ be issued within 150 days of this Order.

       AND IT IS SO ORDERED.



                                                      S/ Richard Mark Gergel
                                                      Richard Mark Gergel
                                                      United States District Judge


Charleston, South Carolina
October 5, 2020




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